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Tin 22
COLORADO ATTORNEY GENERAL OFFICE
TOWN OF BENNETT
Joe Lico
“Plaintiff”,
V Case Number CE22-0005
CE22-0019
ERIC WITT
“Defendant(s)”
7 /
Philip J. Weiser NOTICE, not a motion
Attorney for alleged “Plaintiff” Addressed to: Philip J. Weiser,
Attorney General
Department of Law

Phone: 720-508-6000
Fax: 720-508-6030
1300 Broadway

10th Floor

Denver, CO 80203

JURISDICTIONAL CHALLENGE
WITH AFFIDAVIT

Eric Witt by limited appearance to this matter in this court of record with clean hands,
without prejudice and with all rights reserved including UCC 1-308 in dealing with this court, in

pro per, sui juris (NOT PRO SE), have not seen any evidence that proves how this court got its

jurisdiction.

Eric Witt has the right to challenge the jurisdiction of any court that attempts to force
compliance with its deceptive practices, procedures, rules, and word-smithing at any time, and
this right has been upheld by numerous decisions by the Supreme Court of the United States.
Once jurisdiction has been challenged, it is the mandatory obligation of the opposing party to

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prove the basis of the court having jurisdiction to proceed in the matter before it, and until that
has been put on the Record of the court, the court can proceed no further.

Further, the Supreme Court of the United States has ruled that jurisdiction can be
challenged at any time even as much as 15 (fifteen) years after a judgment has been entered.

Decisions of the Supreme Court of the United States are mandatory requirement to be complied

with by all courts, state and federal and leave those courts no discretion as to whether or not to

comply. The following Supreme Court cases set out the mandatory requirements that must be
complied with.

"Once jurisdiction is challenged, the court cannot proceed when it clearly appears that the
court lacks jurisdiction, the court has no authority to reach merits, but, rather, should dismiss the
action." Melo v. US, 505 F2d 1026.

"Where there is no jurisdiction over the subject matter, there is no discretion to ignore
that lack of jurisdiction." Joyce v. US, 474 F2d 215.

"Generally, a plaintiff's allegations of jurisdiction are sufficient, but when they are
questioned, as in this case, the burden is on the plaintiff to prove jurisdiction." Rosemond v.
Lambert, 469 F2d 416.

"Judgment rendered by court which did not have jurisdiction to hear cause is void ab
initio." In Re Application of Wyatt, 300 P. 132; Re Cavitt, 118 P2d 846. "It is elementary that
the first question which must be determined by the trial court in every case is that of
jurisdiction.” Clary v. Hoagland, 6 Cal.685; Dillon v. Dillon, 45 Cal. App. 191,187P. 27.

The response from the Party/Petitioner/Plaintiff asserting proper jurisdiction throughout this
case must be made on a point by point basis for all the moving Party/Petitioner/Plaintiff
actions, filings and motions are true and correct in relation to the proper State laws, codes, rules,
regulations, statutes used to conduct this case that proper jurisdiction was always maintained
from the record including the incomplete summons.

“A departure by a court from those recognized and established requirements of law,
however close the apparent adherence to mere form in method of procedure, which has the effect
of depriving one of a constitutional right, is as much an “excess of jurisdiction" as where there

exists an inceptive lack of power.” Wuest v. Wuest. 53 Cal. App. 2d 339.127P.2d 934.

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“A court has no jurisdiction to determine its own jurisdiction for a basic issue in any case
before a tribunal is its power to act, and a court must have the authority to decide that question in
the first instance.” Rescue Army v. Municipal Court of Los Angeles, 17) P2d; 331 US 549, 91
L. ed. 1666, 67 S. Ct. 1409.

"Where there is no jurisdiction there is no judge; the proceeding is as nothing. Such has
been the law from the days of the Marshalsea.” 10 Coke 68; also Bradley vy. Fisher, 13 Wall
335,351." Manning v. Ketcham, 58 F.2d 948.

"A distinction must be here observed between excess of jurisdiction and the clear

absence of all jurisdiction over the subject-matter any authority exercised is a usurped authority

and for the exercise of such authority, when the want of jurisdiction is known to the judge. no
excuse is permissible." Bradley v, Fisher,13 Wall 335, 351, 352.

“Plaintiffs bear the burden of establishing subject matter jurisdiction.” KNAPP
MEDICAL CENTER, et al. v. Eric D. HARGAN, 875 F.3d 1125, (2017).

“Jurisdiction, once challenged, is to be proven, not by the court, but by the party

attempting to assert jurisdiction. The burden of proof of jurisdiction lies with the asserter. The
court is only to rule on the sufficiency of the proof tendered.” McNutt v. GMAC, 298 US 178.
Emphasis added. The origins of this doctrine of law may be found in Maxfield's Lessee V Levy.
4 US 308.

In a very recent decision, the Supreme Court unequivocally stated in James v.
City of Boise Idaho, 136 S. Ct. 685 (2016):

"It is this Court's responsibility to say what a [federal] statute means, and once the Court
has spoken, it is the duty of other courts to respect that understanding of the governing rule of
law.” Nitro—Lift Technologies, L.L.C. v. Howard, 568 U.S. ——, ——., 133 S.Ct. 500, 503, 184
L.Ed.2d 328 (2012) (per curiam ) (quoting Rivers v. Roadway Express, Inc.,511 U.S. 298, 312,
114. S.Ct. 1510, 128 L.Ed.2d 274 (1994) (internal quotation marks omitted)). And for good
reason. As Justice Story explained 200 years ago, if state courts were permitted to disregard this
Court's rulings on federal law, “the laws, the treaties, and the constitution of the United States
would be different in different states, and might, perhaps, never have precisely the same
construction, obligation, or efficacy, in any two states. The public mischiefs that would attend
such a state of things would be truly deplorable.” Martin v. Hunter's Lessee, 1 Wheat. 304, 348,
4 L.Ed. 97 (1816)."

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The court also said:

"The Idaho Supreme Court, like any other state or federal court, is bound by this
Court's interpretation of federal law" [emphasis added]

Eric Witt at this time makes that challenge and demands that the BENNETT
MUNICIPAL COURT OF ADAMS COUNTY, COLORADO order the so-called Plaintiff in
this case provide direct evidence and proof on the Record that the BENNETT MUNICIPAL
COURT OF ADAMS COUNTY, COLORADO is a judicial power court which was created by
the Constitution for the State of COLORADO and operates in compliance with all of the
provisions of the Constitution for the United States of America.

The Court would lack jurisdiction being that there is evidence to support the improperly
contrived subject matter by proper legislative process; and the Eleventh Amendment of the
United States Constitution removed all “judicial power” in law, equity, treaties, contract law and
the right of the State to bring suit against the People, therefore the “ alleged Defendant” now
challenge jurisdiction for the record.

Standing must also be proven to show jurisdiction. In order to file a case in court, litigants must

have "standing" to sue. To have standing, Supreme Court doctrine requires that parties have an
"injury in fact." This injury must be specific and concrete - rather the speculative and abstract.
Standing requires the violation of a legal right that causes damage. “A plaintiff must allege
personal injury fairly traceable to the defendant's allegedly unlawful conduct and likely to be
redressed by the requested relief.” Allen v. Wright, 468 U.S. 737, 751 (1984)

All orders or judgments issued by a judge in a court of limited jurisdiction must contain

the findings of the court showing that the court has subject-matter jurisdiction, not allegations

that the court has jurisdiction.

Any explanations to the above-mentioned matters MUST be done on a point by point
basis with verified facts that are referenced in law, Legislative acts, Federal and/or State
constitutions. The response from the Party/Petitioner/Plaintiff asserting proper jurisdiction
must be sworn to under the penalties of perjury of the United States of America that response is
true and correct, certified by notarization, and must be able to be understood by any reasonable

man/woman should understand.

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Pleadings of this Party SHALL NOT BE dismissed for lack of form or failure of process.
All the pleadings are as any reasonable man/woman would understand, and in support of that
claim I submit the following:

“And be it further enacted. That no summons, writ, declaration, return, process,
judgment, or other proceedings in civil cases in any of the courts or the United States, shall be
abated, arrested, quashed or reversed, for any defect or want of form, but the said courts
respectively shall proceed and give judgment according as the right of the cause and matter in
law shall appear unto them, without regarding any imperfections, defects or want of form in such
writ, declaration, or other pleading, returns, process, judgment, or course of proceeding
whatsoever, except those only in cases of demurrer, which the party demurring shall specially sit
down and express together with his demurrer as the cause thereof. And the said courts
respectively shall and may, by virtue of this act, from time to time, amend all and every such
imperfections, defects and wants of form, other than those only which the party demurring shall
express as aforesaid, and may at any time, permit either of the parties to amend any defect in the
process of pleadings upon such conditions as the said courts respectively shall in their
discretion, and by their rules prescribe. (a)” Judiciary Act of September 24" 1789, Section 342,
FIRST CONGRESS, Sess. 1, ch. 20,1789.

AFFIDAVIT

State of COLORADO __)
) ss. TOALL TO WHOM THESE PRESENTS SHALL COME

county of ADAMS _)

I, the Affiant, who goes by the appellation, Eric Witt, a man, a man standing as an Inhabitant on
Adams the county, COLORADO the land, non-territorial to the United States and therefore
without the United States, being of sound mind, and over the age of twenty-one, reserving all
rights, being unschooled in law, and who has no BAR attorney, is without an attorney, and
having never been re-presented by an attorney, and not waiving assistance of counsel, knowingly
and willingly Declares and Duly affirms, in accordance with laws in and for the State of
COLORADO, in good faith, with no intention of delaying, nor obstructing, and with full intent
for preserving and promoting the public confidence in the integrity and impartiality of the
government and the judiciary, that the following statements and facts, are true and correct of
Affiant’s own first-hand knowledge, understanding, and belief, do solemnly declare, and depose
and say:

1. That I, Eric Witt, declare that I am competent to state to the matters set forth herein; and
2. That I, Eric Witt, declare that I have personal knowledge of the facts stated herein; and
3. That I Eric Witt, declare the plaintiff has no injured party; and

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4, That I Eric Witt, declare damages because of the Town of Bennett’s public servants are

collectively violating and harassing Eric Witt see: CRS 18-9-111 is the Colorado statute that
defines criminal harassment as intentionally bothering, annoying, or alarming someone by way of

repeated contact, obscene gestures, hitting, taunting, or following in public; and

5. That I Eric Witt, declare damages because The Town of Bennett water utility department
received my payment in full and the towns employees intentionally deprived me of an essential

resource for 6 days before restoring water to my property; and

a) The Colorado statute clearly outlines services must be turned on within 24 hours according to

the code of Colorado regulations, rule 5409(b)(I) which states:

“(b) Unless prevented by safety concerns or exigent circumstances, a utility shall restore service
within 24 hours (excluding weekends and holidays), or within 12 hours if the customer pays any

necessary after-hours charges established in tariffs, if the customer does any of the following:
(2) Pays in full the amount for regulated charges shown on the notice and any deposit and/or
fees as may be specifically required by the utility's tariff in the event of discontinuance of

service,

(II) Pays any reconnection and collection charges specifically required by the utility's tariff,
enters into an installment payment plan, and makes the first installment payment, unless

the cause for discontinuance was the customer's breach of such an arrangement.

(ILD) Presents a medical certification, as provided in rule 5407(e)(IV).

(IV) Demonstrates to the utility that the cause for discontinuance, if other than non-payment, has
been cured.”

b) I called the Town of Bennett water utility on the phone several times after the bill was paid in

full throughout 6 days to get service restored.

c) The water utility bill was paid in full Thursday 7/21/22 $755.22 and service was not restored
until Wednesday 7/27/22 the following week. This is a clear violation of code of Colorado

regulations, rule 5409(b)(I), shows abuse of power and the harassing nature of the public

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servants employed by the Town of Bennett. These individuals shall be stripped of immunity per

the “Tucker Act” .

6. That I Eric Witt, declare damages because of a breach of contract by The Town of Bennett,

due to the violation of the code of Colorado regulations, rule 5409(b)(I) ; and

7. That I Eric Witt, declare damages because a bench warrant was issued for my arrest by judge
Ausmus 6/27/2022 causing extreme emotional distress for a summons that was not properly

served according to the Colorado rules of civil procedure, see: C.R.C.P. Rule 4(f); and

8. That I Eric Witt, declare damages because the day after receiving mail that there was a warrant
for my arrest. I received a entrapping/taunting notice tapped to my door stating I would receive a
summons if I didn’t trim weeds out in front of my property. , The thought of doing such brought
high anxiety, stress and fear of being unlawfully arrested . If I did get arrested would in turn

cause me to be unable to fulfill my obligations as a single father.; and

9. That I Eric Witt, declare the plaintiff failed to provide the court adequate assurance of due

performance; and

10. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO, or any/all
aliases of this name, is not an administrative power only court forcing compliance with its Orders
by use of armed mercenary police actions, and I believe that no contrary evidence exists; and

11. That I, Eric Witt, declare that all the facts stated herein are true, correct, and certain,
admissible as evidence, and if called upon as a witness | will testify to their veracity; and

12. That I, Eric Witt, declare that I am not now, nor have I been in the past 10 years, federal
employee, or federal personnel; and

13. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO, or any/all
aliases of this name, is not a lower federal district court limited in jurisdiction to only those areas

which are federal enclaves, and I believe that no contrary evidence exists; and

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14. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO or any/all
aliases of this name, is not without in personam jurisdiction over Eric Witt, one of the People of
COLORADO, and I believe that no contrary evidence exists; and

15. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO, or any/all
aliases of this name, does not have the ability to obtain jurisdiction over one of the People of
COLORADO, the property of one of the People of COLORADO, and I believe that no contrary
evidence exists; and

16. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO, , or any/all
aliases of this name, is not limited in authority to only administrative power over the artificial
entity/legal person, ERIC WITT, and I believe that no contrary evidence exists; and

17. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO , or any/all
aliases of this name, is not an administrative power only court, which is masquerading as a
judicial power court, which was created by the LEGISLATURE OF STATE OF COLORADO,
and I believe that no contrary evidence exists; and

18. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
judicial power courts, the BENNETT MUNICIPAL COURT, ADAMS COUNTY, COLORADO
is not created only by the Constitution for the State of COLORADO, and I believe that no
contrary evidence exists; and

19. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the LEGISLATURE OF STATE OF COLORADO is not powerless to create judicial power
courts, and I believe that no contrary evidence exists; and

20. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT, ADAMS COUNTY, COLORADO, or any/all aliases
of this name, is not an administrative power only court created for commercial purposes by the
LEGISLATURE OF STATE OF COLORADO, acting as an instrumentality of the United States,

and I believe that no contrary evidence exists; and

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22. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO, or any/all
aliases, is not by the actions of said court directly violating the rights held by the People under
the Constitution for the State of COLORADO, through said court’s use of deceptive practices,
procedures, rules, and word-smithing, and I believe that no contrary evidence exists; and

23. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
there is any person holding themselves out as a judge for the BENNETT MUNICIPAL
COURTOF ADAMS COUNTY, COLORADO, who has not taken the proper oath for a state
judicial officer, which is required to be taken by Act of Congress, as set out at 1 Stat. 23, which
reads:

“SEC. 1. Be it enacted by the Senate and | House of| Representatives of the United States of
America in Congress assembled, That the oath or affirmation required by the sixth article of the
Constitution of the United States, shall be administered in the form following, to wit: "I, A. B.
do solemnly swear or affirm (as the case may be) that I will support the Constitution of the
United States."

SEC. 3. And be it further enacted, That the members of the several State legislatures, at the
next sessions of the said legislatures, respectively, and all executive and judicial officers of
the several States, who have been heretofore chosen or appointed, or who shall be chosen or
appointed before the first day of August next, and who shall then be in office shall within one
month thereafter, take the same oath or affirmation, except where they shall have taken it before;
which may be administered by any person authorized by the law of the State, in which such
office shall be Holden, to administer oaths.” [Emphasis added]

and I believe that no contrary evidence exists; and

24. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO, or any/all
aliases of this name, is not committing unlawful acts by claiming authority beyond its
jurisdiction when it orders to pay fines of the People of COLORADO state, and | believe that no
contrary evidence exists; and

25. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
when the COLORADO ATTORNEY GENERAL’S OFFICE /BENNETT MUNICIPAL

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COURT OF ADAMS COUNTY, COLORADO, or any/all aliases of this name, refuses to
rebut this Affidavit, point by point on the Court Record, that said Court is not committing
intentional and malicious violations of civil rights against the Eric Witt, one of the People of
COLORADO, and I believe that no contrary evidence exists; and

26. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
there does not exist a clear absence of all jurisdiction in the BENNETT MUNICIPAL COURT
OF ADAMS COUNTY, COLORADO, and I believe that no contrary evidence exists.

27. That I Eric Witt declare the Official municipal code Section (13)(3)(80) of the Town of
Bennett used as a claim against me are unnamed and missing the 3 elements necessary to be
considered a valid law.

28. That I Eric Witt declare the codes/statutes show no signs of authority on their face as
recorded in the Official Code or Statute of BENNETT MUNICIPAL CODE

29. That I Eric Witt declare the Constitution and the Supreme Court of Colorado asserted that a
statute/codes must have an enacting clause.

30. That I Eric Witt declare the Constitution stated that "The enacting clause is that portion of a
code or statute which gives it jurisdictional identity and constitutional authenticity." Joiner v.
State.

31. That I Erie Witt declare without an enacting clause, the laws referenced in the complaints
have no official evidence that they are from an authority to which the I am subject to or required

obey.

FURTHER AFFIANT SAITH NOT.

I declare under the penalty of bearing false witness before God and Men as recognized
under the laws in and for The State of COLORADO, the Laws of the United States of America
and the Law of Nations, acting with sincere intent and full standing in law, do herewith certify
and state that the foregoing contents are true, correct, complete, certain, admissible as evidence,
and not intended to mislead anyone, and that Eric Witt executes this document in accordance
with Eric Witt’s best knowledge and understanding without dishonor, without recourse; with All
rights reserved, without prejudice.

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WHEREFORE, Eric Witt, having duly challenged the jurisdiction and claim of judicial
power of BENNETT MUNICIPAL COURTOF ADAMS COUNTY, COLORADO, does
now demand and direct said Court to order the Plaintiff in said cause to prove on the Record of
this instant case that the Declarations of Eric Witt are invalid and to prove that this Court was
created by the Constitution for the State of COLORADO, holding judicial power. And that the
judges who have presided over this case prove by certified archival documents that they had on
file the required oath set forth by Act of Congress as 1 Stat. 23 before they issued the orders,
which said judges claim to have judicial power to issue and to have enforced by any law
enforcement agency. Eric Witt serves Administrative/Judicial Notice on this Court, that unless
and until the above Affidavit is rebutted in its entirety, point by point, it stands as the Law of this
instant case. Pursuant to Melo v. US, this Court must, once jurisdiction has been challenged, as
it now has been, halt all further proceedings and stay all Orders/Writs that this Court has
issued. Further, this Court shall issue an Order to the Plaintiff to prove jurisdiction on the
Record of this case and rebut the above Affidavit, point by point, within 10 days of the filing of
this Challenge of Jurisdiction. Should this Court refuse to issue such order to the Plaintiff, this
Court admits on the Record of this case that all orders which have been issued by any alleged
judge of this Court in this instant case are VOID, not merely voidable. And, should this Court
refuse to issue an order declaring all Orders in this case VOID, that such refusal or silence is a
Tacit admission that the Court is intentionally and maliciously violating the unalienable civil
rights of, Eric Witt, one of the People of COLORADO; and further, this Court, as a result of its
Tacit admission agrees, that a Civil Rights complaint, against all perpetrators of the violations,

would be an appropriate action.

By: Eric Witt

VERIFICATION

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As done this 28 day of September in the year 2022, under penalty of perjury under the laws of

the United States of America.
LS._ Cho. lA bee ee

By: Eric Witt

Duly sworn this 28day of September, 9/28/2022

STATE OF COLORADO )
COUNTY OF ADAMS )

Before me the undersigned, a Notary acting within and for the County of LA dy. S_and State
of on this?ay of , 9/28/2022, personally appeared and known to me - OR -
proved to me on the basis of satisfactory evidence to be the person whose names is subscribed to
the within instrument, to be the identical Man , Eric Witt, who being duly sworn, declared the
above to be true, correct, and not meant to mis-lead, to the best of his firsthand knowledge,
understanding, and belief, by his free will and voluntary act and deed by his signature on the
foregoing document, executed the within instrument.

Given under my hand and seal this At day of , 9/28/2022.

Notary Signature Seal

Printed Notary Name

My commission expires

CONCLUSION with DIRECTIVE

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I, Eric Witt, a COLORADO State Citizen and one of the People of COLORADO, makes
this Verification based on personal knowledge of matters set forth herein and appearing without
waiving any rights or remedies, being competent in mind and body to testify, do hereby declare,
verify and affirm that the facts stated herein are true, correct, and complete in all material fact,
not misrepresented based on my own knowledge to the best of my current information,
knowledge and belief under the penalty of perjury of the laws of the United States of America
and the laws of COLORADO, and is admissible as evidence in a court of law or equity, except as
to those matters that are therein made upon information and belief, and as to those claims or
facts, I believe them to be true and admissible as evidence, and if called upon as a witness, I will
testify as to the veracity of my statements.

Entered this 28 day of ,9/28/2022. £
L.S.

Eric Witt

Notary Signature Seal

Printed Notary Name

My commission expires

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